






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00599-CR






Jose Olivo Beltran, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF HAYS COUNTY, 22ND JUDICIAL DISTRICT


NO. CR-01-269, HONORABLE JACK ROBISON, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N




A jury found appellant Jose Olivo Beltran guilty of capital murder.  See Tex. Pen.
Code Ann. § 19.03(a)(2) (West Supp. 2004-05).  The State did not seek the death penalty, and the
district court assessed punishment at imprisonment for life.  See id. § 12.31(a) (West 1993); Tex.
Code Crim. Proc. Ann. art. 37.071, § 1 (West Supp. 2004-05).  We will affirm the conviction.

Appellant was the leader of the San Antonio chapter of the Latin Kings.  Some
members of the gang, among them the deceased Christopher Guillen, were dissatisfied with
appellant's leadership.  Guillen told another member, Oscar Esparza, that he wanted to kill appellant. 
Esparza told appellant what Guillen had said.

On March 2, 2001, a number of Latin Kings, including appellant, Guillen, and
Esparza, attended a party in Shevonne Ledesma's apartment.  Appellant brought up the subject of
Guillen's statements, and it was agreed that Guillen should be beaten and expelled from the group. 
The other members of the Kings began to beat Guillen with their hands and feet until he fell to the
floor.  After the beating, appellant took several Kings to a bedroom and told them that he wanted
Guillen "terminated."  Esparza testified that he refused to participate, but that another member, Paul
Delarosa, agreed to do the killing.  A few minutes later, Delarosa left the apartment with Guillen. 
Guillen's body was found the next day lying beside a road in rural Hays County.  He had been
severely beaten and shot four times.

Esparza, Delarosa, and appellant met again at Ledesma's apartment a few days after
the murder.  Esparza testified that Delarosa told him that he "did it" and described the details of the
murder.  Ledesma testified that she heard appellant ask Delarosa if "he did what he had to do," and
that Delarosa replied, "He's dead."  Another person present at the apartment, Bianca Ferrell, testified
that Delarosa told her that he "took [Guillen] to some field and he shot him."  In his only point of
error, appellant complains that his trial attorney was ineffective because he failed to object to this
hearsay testimony as a violation of his Sixth Amendment confrontation right.

Appellant urges that the admission of Delarosa's out-of-court statements violated the
Sixth Amendment as interpreted in Crawford v. Washington, 541 U.S. 36, 158 L. Ed. 2d 177 (2004). 
Although appellant's trial was held before Crawford was announced, appellant argues that his
counsel should have voiced a Confrontation Clause objection because a hearsay objection alone was
inadequate to protect his rights.  See Bunton v. State, 136 S.W.3d 355, 369 (Tex. App.--Austin
2004, pet. ref'd) (holding alleged Crawford error waived by failure to object).

In Crawford, the Supreme Court wrote that "the principal evil at which the
Confrontation Clause was directed was the civil-law mode of criminal procedure, and particularly
its use of ex parte examinations as evidence against the accused."  158 L. Ed. 2d at 192. 
Accordingly, the Court held that testimonial hearsay is admissible under the Sixth Amendment only
if the declarant is unavailable to testify and the defendant had a prior opportunity to cross-examine. 
Id. at 203.  The Court did not give a comprehensive definition of testimonial hearsay, but held that
the term "applies at a minimum to prior testimony at a preliminary hearing, before a grand jury, or
at a former trial; and to police interrogations.  These are the modern practices with closest kinship
to the abuses at which the Confrontation Clause was directed."  Id.

Delarosa's statements describing his involvement in Guillen's murder were not made
at a preliminary hearing, before a grand jury, or at a former trial, nor were they the product of police
interrogation.  Instead, the statements were made to friends and fellow gang members at an informal
gathering.  They clearly were not the product of an ex parte examination of the sort condemned in
Crawford.  See 158 L. Ed. 2d at 192 ("casual remark to an acquaintance" not testimonial). 
Delarosa's hearsay statements were not testimonial within the meaning of Crawford.

Counsel's hearsay objection was overruled on the ground that Delarosa's statements
were against his penal interest.  Tex. R. Evid. 803(24).  At the time appellant was tried, the
admission of hearsay did not violate the Confrontation Clause if the statement fell within a firmly
rooted hearsay objection or if the statement contained such particularized guarantees of
trustworthiness that adversarial testing would be expected to add little to its reliability.  See Ohio v.
Roberts, 448 U.S. 56, 66 (1980) (disapproved in Crawford).  In Crawford, the Supreme Court
suggested that the admissibility of nontestimonial hearsay may be outside the scope of the Sixth
Amendment entirely.  158 L. Ed. 2d at 203.  Whether judged in light of Roberts or of Crawford,
counsel's failure to lodge a Confrontation Clause objection at the time appellant was tried was not
outside the broad range of reasonable professional assistance.  See Jackson v. State, 877 S.W.2d 768,
771 (Tex. Crim. App. 1994).  The point of error is overruled.

In correspondence to this Court, appellant complains that his counsel on appeal filed
an unacceptable brief. (1)  In particular, appellant believes that counsel should have urged that the
evidence is insufficient to sustain his conviction.  We will consider this contention in the interest of
justice.

When there is a challenge to the sufficiency of the evidence to sustain a criminal
conviction, the question presented is whether a rational trier of fact could have found the essential
elements of the offense beyond a reasonable doubt.  Jackson v. Virginia, 443 U.S. 307, 324 (1979)
(legal sufficiency); Griffin v. State, 614 S.W.2d 155, 158-59 (Tex. Crim. App. 1981) (legal
sufficiency); Zuniga v. State, 144 S.W.3d 477, 484 (Tex. Crim. App. 2004) (factual sufficiency). 
In a legal sufficiency review, all the evidence is reviewed in the light most favorable to the verdict;
it is assumed that the trier of fact resolved conflicts in the testimony, weighed the evidence, and drew
reasonable inferences in a manner that supports the verdict.  Griffin, 614 S.W.2d at 159 (citing
Jackson, 443 U.S. at 318-19).  In a factual sufficiency review, all the evidence is considered equally,
including the testimony of defense witnesses and the existence of alternative hypotheses.  Orona v.
State, 836 S.W.2d 319, 321 (Tex. App.--Austin 1992, no pet.).  Although due deference still must
be accorded the fact finder's determinations, particularly those concerning the weight and credibility
of the evidence, the reviewing court may disagree with the result in order to prevent a manifest
injustice.  Johnson v. State, 23 S.W.3d 1, 9 (Tex. Crim. App. 2000).  The evidence will be deemed
factually insufficient to sustain the conviction if the proof of guilt is too weak or the contrary
evidence is too strong to support a finding of guilt beyond a reasonable doubt.  Zuniga, 144 S.W.3d
at 484-85; see Johnson, 23 S.W.3d at 11.

The indictment alleged that Guillen was murdered in the course of a kidnapping or
attempted kidnapping, and the jury convicted appellant as a party to the alleged offense.  See Tex.
Pen. Code Ann. § 19.03(a)(2).  Appellant contends that there is no evidence of a kidnapping because
there is no evidence that Guillen was taken from Ledesma's apartment against his will.  Appellant
particularly notes that there was no testimony that Guillen "yelled for help or told anyone that he
didn't want to leave."

A person commits the offense of kidnapping by intentionally or knowingly restricting
another person's movements without consent, so as to interfere substantially with the person's
liberty, by either confining the person or moving him from one place to another.  Tex. Pen. Code
Ann. §&nbsp;20.01(1), (2) (West Supp. 2004-05), § 20.03(a) (West 2003).  This restraint must be
accompanied by an intent to prevent the other person's liberation either by secreting or holding him
in a place where he is not likely to be found or by using or threatening to use deadly force.  Tex. Pen.
Code Ann. 20.01(2) (West Supp. 2004-05).

Based on the evidence presented at appellant's trial, a rational jury could have found
beyond a reasonable doubt that Guillen left Ledesma's apartment with Delarosa; Delarosa restricted
Guillen's movements without his consent by means of the intimidation created by the earlier beating;
Delarosa interfered substantially with Guillen's liberty by confining him in his vehicle and by
moving him from the apartment to the place of the murder; and Delarosa intended to prevent
Guillen's liberation by either secreting him in a place where he was not likely to be found or by using
deadly force.  The evidence is legally and factually sufficient to support the jury's finding that
Guillen was murdered in the course of a kidnapping.  See Swearingen v. State, 101 S.W.3d 89, 95-96
(Tex. Crim. App. 2003).  Although appellant does not expressly make this argument, we also find
the evidence to be legally and factually sufficient to support the finding that appellant was a party
to the murder.  See Tex. Pen. Code Ann. § 7.02 (West 2003).

The judgment of conviction is affirmed.



				__________________________________________

				W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices B. A. Smith and Puryear

Affirmed

Filed:   January 27, 2005

Do Not Publish
1.        On December 27, 2004, two months after this cause was submitted for decision, counsel filed
a motion to abate the appeal for a determination of appellant's desire for self-representation.  There
is no Sixth Amendment right to self-representation on appeal.  Martinez v. Court of Appeal, 528 U.S.
152, 163 (2000).  This Court has stated that there is no state constitutional right of self-representation
on appeal.  Glenn v. State, No. 03-03-00212-CR, 2003 Tex. App. LEXIS 7082, at *3 (Tex.
App.--Austin Aug. 6, 2003).  But even if there is an independent state right, it is not a license to
capriciously upset the appellate timetable.  See Ex parte Thomas, 906 S.W.2d 22, 24 (Tex. Crim.
App. 1995); Webb v. State, 533 S.W.2d 780, 784 (Tex. Crim. App. 1976).  It is inconsistent with the
orderly administration of justice to entertain a request for self-representation made after all briefs
have been filed and the appeal has been submitted for decision.  See Thomas, 906 S.W.2d at 24.  The
motion is overruled.


